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To: Judge Harry D. Leinenweber, Courtroom 1941
   327 S Church St, Rockford, IL 61101                                                FIL2E/2D
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   Fax no. (312) 554-8522                                                                  4/2
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                                                                                         THOMA.SDG IS T R ICT COURT
                                                                                      CLERK , U .S
From: Nikki McReynolds, school teacher

Re: pleading for the release of Robert Sylvester   Kelly   due to   COVID-19, unsafe housing conditions

Dear Honorable Judge Harry D. Leinenweber,

I am writing on behalf of Robert Sylvester Kelly, an inmate currently being housed at MCC federal prison
awaiting trial to prove his innocence. We the supporters, family, and friends of Robert Kelly, are extremely
concerned with his safety and well-being while in confinement due to the outbreak of coronavirus, as well as
other factors. It has been documented according to the Federal Bureau of Prisons, that two employees at the
MCC in Chicago had tested positive for the virus. Therefore it will continue to spread due to the unsanitary
conditions at MCC. There aren't any sanitizing protocols or requirements put in place. There is no hand
sanitizer available to the inmates, only to the staff. There is often lack of soap readily available as well. This
puts Robert Kelly at risk due to his age and existing health issues.

According to NBC Chicago, as of August 2019, the facility is down 20 officers and more are expected to retire
soon. Since Kelly is a high-profile celebrity, it makes him atarget from other violent inmates who may want to
mentally, physically and violently abuse or harm him. The unsanitary conditions at the MCC and understaffing
also put Robert Kelly in danger. We feel that he needs to be released on bail or on his own recognizance due
to the unsafe prison conditions.

Kelly is currently sitting in jail where he has been for the last 9 months and counting. Kelly has been confined
without bond at the MCC since July 2019 stemming from allegations and slander from former consensual
partners and ex-lovers. His trial has been pushed back from April 27th to October 13,2020. He will be confined
to jail awaiting trial for nearly 1.5 years before his trial even begins!

This is why we are reaching out to you Sir. We the supporters are begging you to allow him to receive bail with
stipulations such as a house arrest, an ankle monitor, reporting to an officer for drug and alcohol testing, any
stipulations. We just want him released to be able to protect his health and to be able to defend himself properly
by being able to communicate with his legal team in a proper manner because currently, they are not allowed to
see him due to the outbreak.


 Robert Kelly is not a violent man nor does not have a criminal record. R Kelly is not a flight risk. He has
surrendered his passport, nor does he like to fly or have the funds to fly. R Kelly has limited financial resources
since he has been blacklisted from the entertainment industry and mounting legal fees. Therefore there is
absolutely no chance that Robert will flee before trial. We feel that he being held in captivity as if he is a violent
murderer when he is no threat whatsoever.

Robert Kelly is facing a major case which can put him away for his entire life. It seems highly unethical that he
cannot prepare for his trial in a proactive and functional manner with his legal counsel. Please grant him bail so
he can prepare for one of the biggest trials of 2020 and fight for his life.




A proud U.S. citizen who believes that everyone should be innocent until proven guilty.
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FAX
TO: HONORABLE JUDGE HARRY D. LEINENWEBER
            COURT ROOM: 1941
             GHAMBERS: 1946
             FAX# 312-554-8522

RE: ROBERT SYLVESTER KELLY INMATE#09627-035
HELD @ CHICAGO METROPOLITAN CORRECTIONAL
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